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                                 #:1206




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             Case 2:23-cv-01050-JWH-KES Document 52-16 Filed 05/22/23 Page 2 of 7 Page ID
                                              #:1207
Contact
                                       Andrea Gothing
www.linkedin.com/in/andrea-            Director at Fortress Investment Group | Intellectual Property
gothing (LinkedIn)                     San Francisco Bay Area

Top Skills                             Experience
Intellectual Property
Patents                                Fortress Investment Group
Litigation                             Director
                                       October 2020 - Present (2 years 7 months)
                                       San Francisco, California, United States
Publications
Are Courts the New Death Squads
for Software Patents? Not So Fast.     Robins Kaplan LLP
The 5 intellectual property mistakes   Partner
startups must avoid to protect ROI     September 2002 - October 2020 (18 years 2 months)
Taking the pulse of digital health:
Key legal issues surrounding
wearable technology                    Leadership Council on Legal Diversity
The Internet of (Legal) Things         2015 Fellow
                                       March 2015 - March 2016 (1 year 1 month)
Big Data And Alice v CLS: Predicting
What’s Next

                                       Motorola
                                       Semiconductor Device Engineer
                                       September 1997 - 1999 (2 years)




                                       Education
                                       University of Minnesota Law School
                                       JD, Law


                                       University of Minnesota-Twin Cities
                                       Master's degree, Electrical and Electronics Engineering


                                       Worcester Polytechnic Institute
                                       Bachelor's degree, Electrical and Electronics Engineering




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                                           #:1208
Contact
                                  Erez Levy
www.linkedin.com/in/erez-         Managing Director, Intellectual Property Finance Group at Fortress
levy-4b77205 (LinkedIn)           Investment Group
                                  Menlo Park, California, United States


                                  Experience
                                  Fortress Investment Group
                                  Managing Director, Intellectual Property Finance Group
                                  February 2013 - Present (10 years 3 months)


                                  Koru Venture Partners
                                  Co-Founder and Managing Partner
                                  November 2012 - February 2013 (4 months)
                                  Koru Venture Partners is an asset based lending fund that provides technology
                                  companies with capital in the form of patent backed loans. Koru Venture
                                  Partners offers mid and late stage technology companies an innovative way
                                  of leveraging their patents without risking them in litigation or losing a strategic
                                  advantage by selling them.


                                  The investment team is comprised of world-renowned experts in patent
                                  valuation and patent monetization, as well as investment banking and
                                  structured finance professionals. The team has a strong track record, deep
                                  domain experience and comprehensive, long-tenured venture and patent
                                  industry relationships.


                                  In February 2013 Koru Venture Partners was integrated into Fortress
                                  Investment Group.


                                  TriplePoint Capital
                                  Managing Director
                                  March 2007 - October 2012 (5 years 8 months)


                                  JPMorgan
                                  12 years

                                  Senior Vice President
                                  1999 - 2007 (8 years)


                                  Vice President
                                  1995 - 1999 (4 years)

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                                 #:1209


                        Education
                        University of California, Berkeley - Walter A. Haas School of
                        Business
                        B.S., Business Administration




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                                            #:1210
Contact
                                   James Palmer
www.linkedin.com/in/james-         Managing Director - Intellectual Property Finance Group at Fortress
palmer-830b7 (LinkedIn)            Investment Group
                                   San Francisco, California, United States
Top Skills
Private Equity                     Summary
Equities
                                   Specialties: Sourcing, Evaluating, Due Diligence,Capital Raising and
Corporate Finance
                                   Strategy for Private Companies. Most industries.



                                   Experience
                                   Fortress Investment Group
                                   Managing Director - Intellectual Property Finance Group
                                   June 2014 - Present (8 years 11 months)
                                   San Francisco Bay Area


                                   Straight Shot LLC
                                   President & CEO
                                   August 2012 - Present (10 years 9 months)


                                   Velico Medical
                                   Board Observer
                                   January 2008 - Present (15 years 4 months)


                                   Python Systems
                                   Founder
                                   September 2012 - December 2016 (4 years 4 months)
                                   San Francisco Bay Area


                                   Laru Corporation
                                   Board Observer
                                   July 2011 - June 2012 (1 year)


                                   Prepared Response
                                   Board Observer
                                   January 2008 - May 2012 (4 years 5 months)


                                   Ardica Technologies
                                   Board Observer
                                                                    Page 1 of 2
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                                 #:1211
                        January 2010 - June 2011 (1 year 6 months)




                        Education
                        Rollins College
                        BA, Economics




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          Case 2:23-cv-01050-JWH-KES Document 52-16 Filed 05/22/23 Page 7 of 7 Page ID
                                           #:1212
Contact
                                  Scott Desiderio
www.linkedin.com/in/scott-        Managing Director - Fortress Credit Opportunities Funds
desiderio-32aab3102 (LinkedIn)    New York, New York, United States

Top Skills                        Experience
Hedge Funds
Financial Modeling                Fortress Investment Group
                                  Managing Director
                                  January 2022 - Present (1 year 4 months)


                                  Fortress Investment Group
                                  Senior Vice President
                                   - February 2022


                                  Fortress Credit Opportunities Funds
                                  Director - Deputy CFO
                                  January 2016 - February 2022 (6 years 2 months)




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